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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA                      §
                                                  §
    v.                                            §    No. 21-CR-3 (RCL)
                                                  §
                                                  §
    JACOB ANTHONY CHANSLEY,                       §
    AKA “JAKE ANGELI,”                            §
    AKA “JACOB ANGELI,”                           §
                                                  §
                 Defendant.                       §
         GOVERNMENT’S OPPOSED MOTION TO EXTEND RESPONSE DEADLINE

          The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby shows cause and moves for an extension of time to respond to

Defendant’s Motion for Return of Property.

I.        Background

          1)     On January 11, 2021, Defendant was charged in a multicount indictment, including

Obstruction of an Official Proceeding in violation of Title 18, United States Code, Section

1512(c)(2) (“Count Two”). 1

          2)     On September 3, 2021, Defendant pleaded guilty to Count Two 2 and was sentenced

to a 36-month term of supervised release on November 17, 2021. 3

          3)     On April 16, 2024, the Supreme Court heard oral arguments in Fischer v. United

States, where the question is whether the U.S. Court of Appeals for the District of Columbia Circuit




1
  ECF No. 3.
2
  ECF No. 69.
3
  ECF No. 92.

                                                  1
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erred in construing 18 U.S.C. § 1512(c), which prohibits obstruction of congressional inquiries

and investigations, to include acts unrelated to investigations and evidence. 4

        4)       On May 2, 2024, Defendant filed a motion for Return of Property pursuant to Rule

41(g).5 The government inadvertently missed this filing and failed to respond.

        5)       On May 29, 2024, this Honorable Court ordered that the government show cause

within 30 days as to why Defendant’s motion should not be granted.6

II.     Extension Request

        6)       The United States anticipates that the Supreme Court may imminently release the

Fischer decision. This decision could impact Defendant’s count of conviction and may create a

situation where evidence must be preserved and Defendant tried.

        7)       To seek legal clarity, protect constitutional rights, and conserve judicial resources,

the government respectfully requests this Honorable Court to extend the response deadline to 14

days after the Fischer decision is released.

        WHEREFORE, the government respectfully requests that government’s opposed motion

for an extension of time be granted for pending the resolution of Fischer. A proposed order is

attached.

                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    DC Bar No. 481052

                                                By: /s/ Rick Blaylock Jr.

                                                     RICK BLAYLOCK JR.
                                                     Assistant United States Attorney

4
  Fischer v. United States, 144 S. Ct. 537, 217 L. Ed. 2d 285 (2023). See Supreme Court Docket at
https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/23-5572.html.
5
  ECF No. 130.
6
  ECF No. 131.

                                                       2
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